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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



SHIRA PERLMUTTER,

     Plaintiff,
                                          Case No. 25-cv-01659-TJK
v.

TODD BLANCHE et al.,

     Defendants.



              PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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                                         INTRODUCTION

         Plaintiff Shira Perlmutter is the Register of Copyrights and Director of the U.S. Copyright

Office in the Library of Congress. She has served faithfully in this role since she was lawfully

appointed by the Librarian of Congress in October 2020. As Register of Copyrights, Ms.

Perlmutter has been charged by Congress with the duty to administer the nation’s copyright system

and to advise Congress on copyright matters of national importance.

         In an unprecedented attempt to seize control over the Library of Congress’s operations, the

President purported unilaterally to appoint a new Librarian of Congress and to remove Ms.

Perlmutter from her position as Register. But these actions lack any statutory or constitutional

basis. Indeed, Defendants take issue with what were previously uncontroversial points of law: the

President does not have inherent Article II authority to unilaterally install acting principal officers

beyond what is permitted under the Federal Vacancies Reform Act or the Appointments Clause;

and the President does not have the authority to directly remove the Register of Copyrights. Just

last week, the D.C. Circuit made clear that neither of Defendants’ extreme positions is likely to

succeed. Aviel v. Gor, No. 25-5105, 2025 WL 1600446, at *1 (D.C. Cir. June 5, 2025) (“Aviel

II”).

         Defendants’ actions have caused irreparable harm to Ms. Perlmutter and will continue to

do so absent judicial intervention. Ms. Perlmutter has a statutory right to serve as Register of

Copyrights until she is removed by a lawfully appointed Librarian of Congress. At least six courts

in this District have found the deprivation of a statutory right to function to be sufficient to entitle

an officeholder to challenge an unlawful removal. And as the D.C. Circuit made explicit in

rejecting the Government’s request for a stay in Aviel II, the Supreme Court’s stay in Wilcox does

not militate against a determination of irreparable harm where, as here, the plaintiff is likely to

succeed on the merits. Id. at *2 n.2. Beyond that, Ms. Perlmutter has critical and time-sensitive


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duties that she is required by law to perform. Defendants’ actions prevent her from discharging

those statutory responsibilities, which, in the absence of immediate judicial intervention, threatens

to render inoperable significant functions of the Copyright Office during the months-long

pendency of this lawsuit.

       Defendants’ actions are brazenly unlawful, and they cause severe and irreparable harm to

Ms. Perlmutter and her ability to fulfill the duties entrusted to her under the law. This Court should

follow the path set out by the D.C. Circuit in Aviel II and enter a preliminary injunction that directs

that Defendants’ purported removal of Ms. Perlmutter has no legal effect, ensures that she can

resume her work as Register of Copyrights, and prevents Defendants from encumbering her efforts

to perform her duties.

                                       FACTUAL BACKGROUND

I.     The Purported Removal of Plaintiff as Register of Copyrights

       On Thursday, May 8, 2025, President Trump fired the Librarian of Congress, Dr. Carla D.

Hayden, in a two-sentence email. See Tim Balk, Trump Administration Fires Librarian of

Congress, N.Y. Times (May 8, 2025), https://perma.cc/865K-GS9D. In accordance with the

Library of Congress’s regulations—issued pursuant to the authority Congress expressly delegated

to the Librarian, 2 U.S.C. § 136—Principal Deputy Librarian of Congress and 40-year Library

veteran Robert R. Newlen replaced Dr. Hayden as acting Librarian. See Declaration of Shira

Perlmutter (“Perlmutter Decl.”) ¶ 5.

       Over the following weekend, Trent Morse, Deputy Assistant to the President and Deputy

Director of the White House Presidential Personnel Office, sent an email to Ms. Perlmutter, stating,

on the President’s behalf, that her position as the Register of Copyrights and Director of the U.S.

Copyright Office was terminated, effective immediately. See id. ¶ 9; see also id., Exhibit A. The

following Monday, May 12, two Justice Department officials arrived at the Library of Congress


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and requested access to the U.S. Copyright Office. See id. ¶ 10; see also Maya C. Miller & Devlin

Barrett, Trump Installs Top Justice Dept. Official at Library of Congress, Prompting a Standoff,

N.Y. Times (May 12, 2025), https://perma.cc/9L4G-8ZMU. Those two officials were Brian

Nieves, Chief of Staff and Senior Policy Counsel to Deputy Attorney General Todd Blanche, and

Paul Perkins, Associate Deputy Attorney General to Mr. Blanche. See Perlmutter Decl. ¶ 10. Mr.

Nieves and Mr. Perkins showed Library staff a letter from the White House purporting to appoint

Mr. Blanche to the position of acting Librarian of Congress pursuant to the Federal Vacancies

Reform Act. See id.; see also id., Exhibit B. The Justice Department officials also showed Library

staff an email from Mr. Blanche, stating that he had selected Mr. Nieves to serve as the acting

Principal Deputy Librarian, and Mr. Perkins to serve as the acting Register of Copyrights and

Director of the U.S. Copyright Office. This served as Mr. Blanche’s ratification of the President’s

decision to remove Ms. Perlmutter from her position. See id. ¶ 10; see also id., Exhibit B.

       Officials at the Library of Congress did not recognize Mr. Blanche as the acting Librarian

and have not permitted Mr. Blanche or Mr. Perkins to assume control over the Library or Copyright

Office. See Perlmutter Decl. ¶¶ 10–11. A bipartisan group of lawmakers has expressed concern

about the President’s unprecedented efforts to control Congress’s library. See Katherine Tully-

McManus, GOP Leaders Draw the Line at Trump’s Library of Congress Takeover, Politico (May

14, 2025), https://perma.cc/236C-QXRM.

II.    The Register of Copyrights and U.S. Copyright Office

       The Constitution vests Congress with the power to “secur[e] for limited Times to Authors

and Inventors the exclusive Right to their respective Writings and Discoveries.” U.S. Const. art.

I, § 8, cl. 8. Pursuant to that authority, Congress has entrusted the Copyright Office, led by the

Register of Copyrights, with the responsibility to administer the nation’s copyright system. See

17 U.S.C. § 701(a); see Thaler v. Perlmutter, 130 F.4th 1039, 1042 (D.C. Cir. 2025) (“The


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Copyright Act is administered by the United States Copyright Office.”).1

       The Register is the “director of the Copyright Office,” 17 U.S.C. § 701(a), and Congress

has charged the Register personally to perform various duties related to Congress’s constitutional

authority over copyright law. For example, the Register has the responsibility to “[a]dvise

Congress on national and international issues relating to copyright,” 17 U.S.C. § 701(b)(1);

provide assistance to “Federal departments and agencies and the Judiciary” with respect to

copyright law, id. § 701(b)(2); conduct “studies and programs regarding copyright,” id.

§ 701(b)(4); perform “other functions as Congress may direct,” id. § 701(b)(5); and “authenticate

all certified documents issued by the Copyright Office,” id. § 701(c). The Register herself “shall

ensure” that accurate records are maintained, id. § 705; “shall . . . publish . . . catalogs of all

copyright registrations,” id. § 707(a); and “shall furnish” forms for copyright registration, id.

§ 707(b).

       In accordance with her duties, the Register serves as a trusted advisor to Congress on

copyright matters; in that role, she provides input and guidance to Congressional committees and

individual Members as they propose, draft, consider, and vote on copyright-related legislation. See

Register of Copyrights Selection and Accountability Act: Hearing on H.R. 1695 Before the S.

Comm. on Rules and Admin., 115th Cong. 3 (2018) (statement of Sen. Amy Klobuchar) (describing

the Register of Copyrights as Congress’s “chief copyright policy adviser”). This input and

guidance are provided both through public reports and private consultations.

       The Register’s advice to Congress has included contributions to some of the most important


1
 Congress enacted the first federal copyright law in 1790, under which authors registered and
deposited their works with federal district courts. Act of May 31, 1790, ch. 15, § 1, 1 Stat. 124.
Later, Congress centralized copyright administration within the Library of Congress. Copyright
Act of 1870, 16 Stat. 198. And in 1897, Congress established the Copyright Office as a separate
department within the Library, with a dedicated Register of Copyrights. Copyright Act of 1897,
29 Stat. 481.

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milestones in copyright law. Registers of Copyrights have assisted Congress in shaping the

Copyright Act of 1909, the Copyright Act of 1976, the Digital Millennium Copyright Act of 1998

(DMCA), the Orrin G. Hatch–Bob Goodlatte Music Modernization Act of 2018 (MMA), and the

Copyright Alternative in Small-Claims Enforcement Act of 2020, among other pieces of

legislation.2 Pursuant to the Register’s duty to provide advice to Congress, Ms. Perlmutter has led

a two-year initiative to prepare a comprehensive study and report on the intersection of copyright

and artificial intelligence (AI) (“Copyright and AI Report”). Ms. Perlmutter published the third

installment of this four-part Report for Congress on May 9, 2025, the day before her purported

removal. Perlmutter Decl. ¶ 7. The fourth and final part of this Report is in progress. Id.

        The Register of Copyrights additionally executes many other statutory directives in

administering the Copyright Act, including:

        •       The Register is responsible for the examination of copyright applications pursuant

to 17 U.S.C. § 410, and registers claims in works found to constitute copyrightable subject

matter—actions that have significant implications for copyrights, including in litigation. 17 U.S.C.

§§ 410, 411 (registration is required to institute a civil action for infringement and makes available

important enhanced remedies). Upon registering a work, the Register issues a certificate of

registration, which constitutes prima facie evidence of the copyright’s validity. See id. § 410.

        •       The Register advises courts on the impact of inaccurate information contained in a

certificate of registration. See id. § 411(b).


2
     See     “History    of    U.S.     Copyright      Office,”      U.S.     Copyright    Office,
https://www.copyright.gov/history/copyright-exhibit/history-co/; see also, e.g., Hearings on H.R.
2223 Before the Subcomm. on Courts, Civil Liberties, and the Administration of Justice of the
House Comm. on the Judiciary, 94th Cong., 1st Sess. at 1823 (1975) (testimony of Barbara Ringer,
then-Register of Copyrights, on the Copyright Act of 1976); 17 U.S.C. § 114(d) (1976) (directing
the Register of Copyrights “to prepare a report setting forth setting forth recommendations as to
whether this section should be amended to provide for performers and copyright owners of
copyrighted material any performance right in such material”).

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       •         The Register maintains records of copyright deposits and registrations and transfers

of copyright ownership. Id. §§ 205, 705.

       •         The Register is authorized to establish rulemakings in the administration of her

functions and duties (subject to approval by the Librarian of Congress), 17 U.S.C. § 702, including

rulemakings that are currently in process. Perlmutter Decl. ¶ 14(d); see, e.g., Group Registration

for Two-Dimensional Artwork, https://www.copyright.gov/rulemaking/gr2d/.

       •         Pursuant to the MMA, the Register must periodically designate an entity as the

Mechanical Licensing Collective (“MLC”) to administer the mechanical blanket license and

distribute collected royalties to songwriters and music publishers, and a Digital Licensee

Coordinator (“DLC”) to represent digital music services in the administration of the license. 17

U.S.C. § 115(d)(3)(B), (d)(5)(B). Both entities are currently subject to a redesignation process

that began in January 2024 and remains to be completed. See Designation of Mechanical Licensing

Collective and Digital Licensee Coordinator, https://www.copyright.gov/rulemaking/mma-

designations/.

       •         The Register must, pursuant to 17 U.S.C. § 1502, recommend Copyright Claims

Officers to serve on the three-member tribunal Copyright Claims Board (“CCB”), the small claims

copyright tribunal established by Congress; and review the CCB’s decisions for abuse of discretion

before a party can appeal to federal district court. See 17 U.S.C. § 1506(x).

       •         The Register reviews for legal error the decisions by Copyright Royalty Judges,

which determine royalty rates, adjust terms, and ensure the distribution of royalties deposited by

licensees, no later than 60 days after final determinations are issued. Id. § 802(f)(1)(D). The

Register also consults with Copyright Royalty Judges on legal issues as requested and resolves

novel questions of law before them. Id. §§ 802(f)(1)(A)(ii), 802(f)(1)(B).



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                                     LEGAL STANDARD

       To obtain a preliminary injunction, Plaintiff must show that “four factors, taken together,

warrant relief: likely success on the merits, likely irreparable harm in the absence of preliminary

relief, a balance of the equities in [her] favor, and accord with the public interest.” League of

Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (citation omitted). The final two

factors merge where the defendant is the Government. Pursuing Am.’s Greatness v. Fed. Election

Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016); see also Nken v. Holder, 556 U.S. 418, 435 (2009).

Courts in this Circuit continue to apply a “sliding scale” approach, wherein “a strong showing on

one factor could make up for a weaker showing on another.” Changji Esquel Textile Co. v.

Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) (cleaned up) (noting potential tension in case law

but reserving the question of “whether the sliding-scale approach remains valid”); Nat’l R.R.

Passenger Corp. (Amtrak) v. Sublease Int. Obtained Pursuant to an Assignment and Assumption

of Leasehold Int. Made as of Jan. 25, 2007, Case. No. 22-cv-1043 2024 WL 3443596, at *1–2

(D.D.C. July 15, 2024) (recognizing that district courts remain bound by sliding-scale precedent);

cf. League of United Latin Am. Citizens v. Exec. Off. of the President, No. CV 25-0946 (CKK),

2025 WL 1187730, at *14 (D.D.C. Apr. 24, 2025) (collecting cases on tension).

                                         ARGUMENT

I.     Plaintiff Is Likely to Succeed on the Merits

       Ms. Perlmutter is likely to prevail on her claims because neither the President nor Mr.

Blanche has the lawful authority to remove her as the Register of Copyrights. The President’s

purported removal of Ms. Perlmutter was invalid because only the Librarian of Congress may

appoint the Register of Copyrights, and therefore only the Librarian of Congress may remove the

Register of Copyrights. See Aviel II, 2025 WL 1600446, at *1–2; Nat’l Treasury Emps. Union v.

Reagan, 663 F.2d 239, 247 (D.C. Cir. 1981) (“[T]he power to remove is held by the appointing


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authority, and only by the appointing authority.”). And Mr. Blanche’s purported removal of Ms.

Perlmutter is invalid because Mr. Blanche is not the Librarian of Congress—acting or otherwise.

Mr. Blanche has not been nominated or confirmed by the Senate, see 2 U.S.C. § 136-1, and the

President lacks any constitutional or statutory authority to appoint an acting Librarian of Congress.

See Aviel II, 2025 WL 1600446, at *1–2.

       A.      The Register of Copyrights can be appointed and removed only by the
               Librarian of Congress.

       1.   The President lacks any statutory authority directly to remove the Register of

Copyrights. Congress may vest the appointment of inferior officers in “the President alone, in the

Courts of Law, or in the Heads of Departments” as it “think[s] proper.” Free Enter. Fund v. Pub.

Co. Acct. Oversight Bd., 561 U.S. 477, 487 (2010); U.S. Const. art. II, § 2, cl. 2. If Congress vests

the authority to appoint inferior officers in a Head of Department, “it is ordinarily the department

head, rather than the President, who enjoys the power of removal.” Free Enter. Fund, 561 U.S. at

493. Congress may depart from this default rule, but, “[a]bsent relevant legislation,” “the power

to remove is held by the appointing authority, and only by the appointing authority.” Nat’l

Treasury Emps. Union, 663 F.2d at 247 (emphasis added).

       That is exactly the case here. The Librarian of Congress, who is appointed by the President

with the advice and consent of the Senate, “is a Head of Department.” Intercollegiate Broad. Sys.,

Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1342 (D.C. Cir. 2012). Congress unambiguously

vested the Librarian of Congress with the authority to appoint the Register. 17 U.S.C. § 701(a)

(“The Register of Copyrights . . . shall be appointed by the Librarian of Congress, and shall act

under the Librarian’s general direction and supervision.”). As the Fourth Circuit explained, “[t]he

Librarian of Congress is an Officer of the United States, with the usual power of such officer to

appoint such inferior officers (i.e., the Register), as he thinks proper.” Eltra Corp. v. Ringer, 579



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F.2d 294, 300 (4th Cir. 1978) (cleaned up).

       Congress has not elected to depart from the default rule and authorize the President to

remove the Register of Copyrights directly. No prior President has attempted to remove the

Register of Copyrights unilaterally, and this President has no statutory basis for his unprecedented

effort to do so here. The default rule prevails, and only the Librarian of Congress may remove the

Register. See Nat’l Treasury Emps. Union, 663 F.2d at 247.

       The D.C. Circuit’s recent decision in Aviel II is instructive. In Aviel II, the D.C. Circuit

refused to stay an injunction requiring the Government to “recognize [Aviel] as still holding” the

office of CEO of the Inter-American Foundation (IAF). 2025 WL 1600446, at *1. The court

explained that “the governing statute [of the IAF] authorizes the IAF Board of Directors—not the

President—to appoint the CEO, and it is silent regarding the question of removal.” Id. “That

means the Board—not the President—has the power to remove Aviel.” Id. (citing Free Enter.

Fund, 561 U.S. at 493, 509). The same is true here, where the law authorizes the Librarian of

Congress—not the President—to appoint the Register, and is silent regarding the question of

removal.

       The lack of statutory authority for the President to remove the Register of Copyrights is

confirmed by Congress’s recent consideration—and rejection—of legislation that would have

conferred such authority. The Register of Copyrights Selection and Accountability Act of 2017,

H.R. 1695, 115th Cong. (2017), would have amended the Copyright Act to allow the President “to

remove the Register from office subject to a notification requirement to the House of

Representatives and Senate.” H.R. Rpt. No. 115-91, at 7 (2017). The bill passed the House but

failed in the Senate. See Register of Copyrights Selection and Accountability Act: Hearing on H.R.

1695 Before the S. Comm. on Rules and Admin., 115th Cong. 6 (2018) (statement of Prof. Jonathan




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Band) (“It is hard to comprehend why Congress would voluntarily cede to the executive branch

the authority of its own Librarian to select a key congressional adviser.”).

       If the President, as he now claims, had the statutory authority to remove the Register

directly, Congress’s consideration of the 2017 bill would have been unnecessary. The failed 2017

bill shows that the President did not have that authority; this history also shows that Congress

knows how to alter the removal authority for inferior officers generally (and for the Register of

Copyrights in particular), and that Congress did not do that either. Cf. Jama v. Immigr. & Customs

Enf’t, 543 U.S. 335, 341 (2005) (“We do not lightly assume that Congress has omitted from its

adopted text requirements that it nonetheless intends to apply, and our reluctance is even greater

when Congress has shown elsewhere in the same statute that it knows how to make such a

requirement manifest.”).

       In sum, Congress has seen fit to vest the power to appoint the Register of Copyrights in the

Librarian of Congress, and therefore the power to remove the Register rests with the Librarian.

       2. Defendants have also contended that the President has inherent authority under the

Constitution’s Take Care Clause to remove the Register. That is wrong. The Appointments Clause

itself forecloses any claim of background presidential authority to remove inferior officers who

were not appointed by the President. That Clause provides that Congress may exclude the

President entirely from appointing inferior officers: “the Congress may by Law vest the

Appointment of such inferior Officers, as they think proper, in the President alone, in the Courts

of Law, or in the Heads of Departments.” U.S. Const. art. II, § 2, cl. 2. Once Congress has

exercised its right to vest the appointment of an inferior officer in, for instance, a Head of

Department, the President lacks any “background” authority to circumvent that statutory provision.

Otherwise, the Appointments Clause’s conferral of authority on Congress to “by Law vest the




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Appointment” of inferior officers in officials other than the President would be meaningless; the

President could simply remove such officials the instant they were appointed.

       The Constitution does not give the President the right to circumvent the Appointments

Clause through a freestanding removal power.            Instead, “removal is incident[al]” to the

appointment power, Free Enter. Fund, 561 U.S. at 509, and Congress may exclude the President

from the removal of an inferior officer, by excluding the President from appointing that officer.

No other conclusion would be consistent with the Appointments Clause. Indeed, even President

Nixon evidently shared this understanding of the Appointments Clause: there would have been no

need for the Saturday Night Massacre if President Nixon could simply have fired the special

prosecutor himself.

       B.      Mr. Blanche does not lawfully hold the position of acting Librarian of
               Congress.

       Nor has Ms. Perlmutter been lawfully removed from her post by Mr. Blanche, whom the

President purportedly appointed to be acting Librarian of Congress. Despite Defendants’ claimed

reliance on the Federal Vacancies Reform Act of 1998 (“FVRA”), 5 U.S.C. § 3345 et seq., the

FVRA does not authorize the President to appoint an acting Librarian of Congress—nor does any

other source of law.

               1.      The FVRA does not authorize Mr. Blanche’s purported appointment.

       In the ordinary course, when a principal officer of the United States departs from a post,

the position may be filled only after the President nominates, and the Senate confirms, a successor.

This limitation is a “critical ‘structural safeguard[] of the constitutional scheme.’” Nat’l Lab. Rels.

Bd. v. SW Gen., Inc., 580 U.S. 288, 293 (2017) (alteration in original) (quoting Edmond v. U.S.,

520 U.S. 651, 659 (1997)). It protects against unchecked power in a single individual by




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“dividing” it “between the Executive and Legislative Branches.” Freytag v. Comm’r of Internal

Revenue, 501 U.S. 868, 884 (1991).

       Here, the Library of Congress’s principal-officer appointment statute could not be clearer:

“The Librarian of Congress shall be appointed by the President, by and with the advice and consent

of the Senate.” 2 U.S.C. § 136-1. Therefore, absent advice and consent, the President lacks

unilateral authority to appoint a Librarian.

       In some circumstances, Congress “has given the President limited authority to appoint

acting officials to temporarily perform the functions of a vacant [principal] office without first

obtaining Senate approval.” SW Gen., Inc., 580 U.S. at 294. But that is not the case here. Congress

has not given the President any statutory authority to appoint an acting head of the Library of

Congress. That is because the limited temporary-appointment authority set forth in the FVRA

allows for a temporary appointment if:

       [A]n officer of an Executive agency (including the Executive Office of the President, and
       other than the Government Accountability Office) whose appointment to office is required
       to be made by the President, by and with the advice and consent of the Senate, dies, resigns,
       or is otherwise unable to perform the functions and duties of the office.

5 U.S.C. § 3345(a) (emphasis added). The FVRA is “the exclusive means for temporarily

authorizing an acting official to perform the functions and duties of any office of an Executive

agency” for which Senate confirmation is required. Id. § 3347(a); see also S. Rep. 105-250 (1998)

at *4–5 (in enacting the FVRA, Congress emphasized that “the President lacks any inherent

appointment authority for government officers”).3




3
  There are two narrow exceptions to the FVRA’s exclusive authority: “if another ‘statutory
provision expressly’ authorizes the President or another official to make such an appointment, 5
U.S.C. § 3347(a)(1) & (2), or if the President validly makes a recess appointment under Article II,
U.S. Const., art. II, § 2, cl. 3.” See Aviel v. Gor, No. 25-cv-778, 2025 WL 1009035, at *7 (D.D.C.
Apr. 4, 2025) (“Aviel I”). Those exceptions do not apply here: there is no other statutory basis for

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       The FVRA does not apply here, however, because the Library of Congress is not an

“Executive agency” within the meaning of the FVRA. The critical point for FVRA purposes is

that Congress established the Library of Congress as a legislative agency, and it has consistently

treated the Library as a legislative agency for purposes of other statutes. Congress has treated the

Library together with executive agencies only in rare circumstances, and when it has done so, it

has been explicit about that deviation from the norm. The FVRA contains no such explicit

language, and its definition of “Executive agency” does not encompass the Library. This Court

should not lightly conclude, moreover, that Congress would cede to the Executive Branch

unilateral authority to appoint an acting official to lead the Library, in view of its many sensitive

responsibilities to Congress.

               2.     The statutory scheme makes clear that the Library of Congress is not an
                      “Executive agency.”

       At the outset, it is important to be clear about the nature of the inquiry: the question is

whether the Library of Congress falls within the FVRA’s definition of an “Executive agency.” See

5 U.S.C. § 105. That is a statutory question, not a constitutional one. Whether the Library of

Congress is in some respects part of the Executive Branch for constitutional purposes has no

bearing on its status under the FVRA. See Lebron v. Nat’l R.R. Passenger Corp., 513 U.S. 374,

392 (1995) (holding that Congress has the “dispositive” ability to define government entities “for

purposes of matters that are within Congress’s control”); Mistretta v. U.S., 488 U.S. 361 (1989)

(Scalia, J., dissenting) (“For such statutory purposes, Congress can define the term [‘the Judicial

Branch’] as it pleases.”). Defendants’ reliance on Appointments Clause cases to determine the

meaning of “Executive agency” is therefore misplaced. Any presidential authority to appoint an



the President’s purported appointment of Mr. Blanche as acting Librarian of Congress, and the
President has not purported to make a recess appointment.


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acting Librarian would have to be conferred by statute. But the relevant statute—the FVRA—

confers no such authority.

       The FVRA defines the term “Executive agency” as any (1) “Executive department,” (2)

“Government corporation,” or (3) “independent establishment.” 5 U.S.C. § 105; see Haddon v.

Walters, 43 F.3d 1488, 1490 (D.C. Cir. 1995) (per curiam) (confirming that Section 105’s list is

exhaustive). The Library of Congress is none of these. It is not included in the enumerated list of

“Executive departments,” 5 U.S.C. § 101 (definition of “Executive departments”), and it is not a

“corporation owned or controlled by the Government of the United States,” id. § 103 (definition

of “Government corporation”). Defendants’ only statutory argument is therefore that the Library

of Congress is an “independent establishment,” that is, “an establishment in the executive branch,”

id. § 104 (definition of “independent establishment”). ECF No. 7 at 7. The statutory text, as well

as its structure and statutory history, forecloses Defendants’ argument. See Dolan v. U.S. Postal

Serv., 546 U.S. 481, 486 (2006).

        First, the term “independent establishment” is defined as “an establishment in the

executive branch,” a description that does not encompass the Library of Congress. Congress

established the Library of Congress in Title 2 of the U.S. Code—that is, the Title devoted to “The

Congress.” Accordingly, Congress has repeatedly defined the Library of Congress as a “legislative

branch agency,” along with other legislative agencies like the Architect of the Capitol. E.g., 2

U.S.C. § 181(b)(1) (using both “legislative branch agency” and “offices and agencies of the

legislative branch”); Pub. L. 115-414, § 2(a)(3) (Jan. 3. 2019) 132 Stat. 5430; Pub. L. 103-110,

§ 122(b) (Oct. 21, 1993) 107 Stat. 1043 (discussing “the Library of Congress and other Legislative

Branch agencies”). Unlike appropriations for Executive agencies, funding for the Library of

Congress and the Copyright Office is provided through Legislative Branch appropriations, and the

Appropriations Subcommittees for the Legislative Branch have jurisdiction. See, e.g., S. Rep. 118-

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192, at 48–52 (2024); Jurisdiction, H. Subcomm. on Leg. Branch Appropriations,

https://appropriations.house.gov/subcommittees/legislative-branch-0/jurisdiction.     Indeed, even

the Department of Justice has acknowledged—in a brief filed just last month—that Congress has

categorized the Library of Congress with the “legislative branch agencies.” Mem. of Points and

Authorities in Support of Def.’s Mot. To Dismiss, Am. First Legal Found. v. U.S. Gov’t

Accountability. Off., No. 1:25-cv-00662-SLS, ECF No. 9-1, at 5 (D.D.C. May 28, 2025).

Congress’s express establishment of the Library of Congress as a “legislative” agency

demonstrates that the Library is not “an establishment in the executive branch.”

       Second, Congress regularly uses the term “independent establishment” in a manner that

excludes the Library of Congress. See, e.g., 5 U.S.C. § 4101(1) (“For the purpose of this chapter

‘agency’ . . . means (A) an Executive department; (B) an independent establishment; (C) a

Government corporation . . . ; (D) the Library of Congress . . . .” (emphases added)). As in Haddon,

in which the D.C. Circuit concluded that the White House Executive Residence is not an

“independent establishment” under Section 105 because “elsewhere Congress has used the term

‘independent establishment’ in distinction to the Executive Residence,” 43 F.3d at 1490 (citing 3

U.S.C. § 112), the fact that Congress distinguished the Library of Congress from the term

“independent establishment” in 5 U.S.C. § 4101(1) makes plain that Congress does not regard the

Library of Congress as an independent establishment, as it uses that term. Id.

       Third, at least a dozen provisions of Title 5, where the FVRA is codified, distinguish

between an “Executive agency” on the one hand and the Library of Congress on the other. See,

e.g., 5 U.S.C. § 3102(a)(1) (defining “agency” to include both “an Executive agency” and “the

Library of Congress”); id. § 3401(1) (same); id. § 4501(1) (same); id. § 5102(a)(1) (same); id.

§ 5521(1) (same); id. § 5541(1) (same); id. § 5584(g) (same); id. § 5595(a)(1) (same); id. § 5921(2)

(same); id. § 5948(g)(2) (same); id. § 6121(1) (same); see also id. § 3371(3) (same with the

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definition of “federal agency”).4 Viewing these provisions of Title 5 together, there can be little

doubt that the Library of Congress is not an “Executive agency” under Title 5 generally, and the

FVRA specifically, which shares the same definition of “Executive agency” as the rest of Title 5,

see id. § 105. If the Library of Congress were an “Executive agency” within the meaning of

Section 105, that would render each of these statutory provisions superfluous because they

specifically apply both to any “Executive agency” and the “Library of Congress.” See Gustafson

v. Alloyd Co., 513 U.S. 561, 574 (1995) (“[T]he Court will avoid a reading which renders some

words altogether redundant.”).

         Defendants have argued that “what Congress was doing was belt and suspenders” because

“there is nothing like the Library of Congress,” so Congress “had to specifically designate it” in

statutes where Congress wanted to regulate the Library.5 That argument just proves Plaintiff’s

point: Congress recognizes the Library of Congress’s unique status and, where it wants a statute

to apply to the Library of Congress, it knows how to say so plainly. The failure to include the

Library of Congress in the definition of “Executive agency” is no accident. In any event,

Defendants lack a theory for why the canon against superfluity should be disregarded here. Why

did Congress adopt a “belt and suspenders” approach in a dozen other places in Title 5, but not in

Section 105? Defendants have no answer.

         Fourth, when Congress designates an agency as an “independent establishment,” it

invariably does so through the organic statutes creating those agencies. See, e.g., 44 U.S.C. § 2102

(establishing the National Archives and Records Administration as “an independent establishment


4
  Should there remain any doubt, in 5 U.S.C. § 5948(g)(2), Congress specifically distinguished
between “Executive agency, as defined in Section 105 of this title” and “the Library of
Congress”—clearly showing that Congress did not view the Library of Congress to be subsumed
in Section 105’s definition of an “Executive agency.”
5
    ECF No. 15, Tr. of Oral Argument at 29:16–18, 30:4–7 (May 29, 2025).

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in the executive branch”); 5 U.S.C. § 1101 (same for the Office of Personnel Management); 39

U.S.C. § 201 (same for the United States Postal Service); 42 U.S.C. § 2286 (same for the Defense

Nuclear Facilities Safety Board). By contrast, nowhere in the Library of Congress’s organic

statute—or anywhere else—does Congress indicate that the Library of Congress should be

classified as an “independent establishment.” See generally 5 U.S.C., ch. 5.

               3.    Congressional intent makes clear that the Library of Congress is not an
                     “Executive agency.”

       Courts also “consider[] the purpose and context of the statute” in interpreting statutory text.

Dolan, 546 U.S. at 486. Here, both the purpose and the context of the FVRA confirm that Congress

did not intend for the Library of Congress to be considered an “Executive agency” for purposes of

the FVRA. Congress granted the President only “limited authority to appoint acting officials,”

and, “[p]erceiving a threat to the Senate’s advice and consent power,” Congress enacted the FVRA

to circumscribe the President’s ability to appoint acting officials—not to expand it in the manner

Defendants seek to do here. SW Gen., 580 U.S. 288, 294–95.

       Defendants’ theory—that Congress deliberately chose to hand over to the President sub

silentio the authority to appoint an acting Librarian for its own Library—strains credulity.

Congress enacted the FVRA to limit the President’s authority to circumvent the Senate’s

constitutional advice-and-consent power, and Congress has treated the Library of Congress—

which is, in both name and function, Congress’s Library—as part of the Legislative Branch. As

discussed above, supra at 14, the U.S. Code lists the “Library of Congress” under the title “The

Congress,” 2 U.S.C. Ch. 5, and the “Library of Congress” chapter includes a provision that uses

the term “offices and agencies of the legislative branch” and defines that term to include the

Library of Congress. 2 U.S.C. § 181(b)(1).




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       Congress had good reasons to exclude from the FVRA agencies that perform legislative

functions, like the Library of Congress. See Perlmutter Decl. ¶ 3. Congress has an obvious and

direct interest in who is permitted to access the Library’s confidential research and advice for

Members of Congress, as well as other confidential Congressional records it holds, and who

controls the Library’s discharge of its duties as a non-partisan advisor to Congress. Indeed, the

purported appointment of Mr. Blanche, who serves concurrently in the Executive Branch, starkly

confirms why Congress would not have cut itself out of the process of identifying acting leadership

for the Library of Congress.

               4.    Precedent confirms that the Library of Congress is not an “Executive
                     Agency.”

       Finally, courts also “consult[] . . . precedents or authorities” that “inform” the statutory

analysis. See Dolan, 546 U.S. at 486. Here, the relevant precedents confirm that the Library of

Congress is not an “Executive agency” for purposes of the FVRA.

       Plaintiff’s reading of the FVRA is consistent with court decisions that have concluded that

the Library of Congress is a legislative entity for purposes of Title 5. This Circuit has held that

the exclusion of “Congress” from the meaning of “agency” under the Administrative Procedure

Act (APA) means that the Library of Congress is not subject to the APA. See, e.g., Ethnic

Employees of Library of Congress v. Boorstin, 751 F.2d 1405, 1416 n.15 (D.C. Cir. 1985);

Washington Legal Found. v. U.S. Sent’g Comm’n, 17 F.3d 1446, 1449 (D.C. Cir. 1994); Benedict

v. Library of Congress, 1997 U.S. Dist. LEXIS 16158, at *7 (D.D.C. Oct. 8, 1997). For the same

reasons, courts have consistently found that the Library of Congress is not an “agency” under the

Freedom of Information Act (FOIA). See, e.g., Kissinger v. Reporters Comm. for Freedom of the

Press, 445 U.S. 136 (1980). And the D.C. Circuit has held that provisions of the Rehabilitation

Act do not apply to Library of Congress employees because those provisions are “limited in scope



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to the executive branch” and “the Library of Congress, as part of the legislative branch, was not

included.” Judd v. Billington, 863 F.2d 103, 104 (D.C. Cir. 1988). Taken together, these cases

show that courts have broadly understood Congress to have treated the Library of Congress as part

of the legislative branch for statutory purposes. The fact that the Library of Congress is treated as

part of “Congress” for purposes of other parts of Title 5 and elsewhere is irrefutable evidence that

Congress did not silently intend to treat the Library of Congress as an “Executive agency” under

Section 105.

       By contrast, no case has held that the Library of Congress is an “Executive agency” for

purposes of the FVRA. Defendants principally rely on Intercollegiate Broadcast Systems v.

Copyright Royalty Board, 684 F.3d 1332 (D.C. Cir. 2012). But that case does not bear on the

statutory definition of “Executive agency.” Instead, Intercollegiate addresses whether the Library

of Congress is a “Department” for purposes of the Appointments Clause such that its “Head”—

the Librarian—may appoint Copyright Royalty Judges. See id. at 1341–42. While answering the

question of whether the Library of Congress is a “Department[]” for purposes of the Appointments

Clause (and not the separate question presented here, i.e., whether the Library of Congress is an

“Executive agency” for purposes of the FVRA), the Court acknowledged the noncontroversial

proposition that the Library performs “a range of different functions, including some . . . that are

exercised primarily for legislative purposes” and others that are “generally associated in modern

times with executive agencies rather than legislators.” Id. It was only with respect to certain of

the Library’s copyright functions that the D.C. Circuit affirmed that “the Library is undoubtedly a

component of the Executive Branch” for purposes of the Appointments Clause. Id. at 1342

(citation omitted). Indeed, even the Department of Justice acknowledged, in the briefing in

Intercollegiate, that “the Library is regarded as a legislative entity for various statutory purposes”

precisely because “Congress’s definition of ‘executive departments’ in 5 U.S.C. § 101” is not

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coextensive with the scope of Article II. Br. for Appellees, Intercollegiate Broadcasting Sys.,

2011 WL 5288867, at *12, 41.6

               5.     The Constitution does not authorize Mr. Blanche’s purported appointment.

       Defendants also assert that the President has inherent Article II authority to designate acting

principal officers to ensure that he may faithfully execute federal law, as required by the Take Care

Clause, U.S. Const. Art II, § 3. ECF No. 7 at 11–15. Not a single case—from any Circuit or any

time period—supports such an extreme proposition.

       To the contrary, Defendants’ assertion of inherent appointment authority clashes with the

Constitution’s text, historical practice, Supreme Court and Circuit precedent, and congressional

intent—all of which establish the exclusive means by which a President can appoint a principal

officer such as the Librarian of Congress. If a President could bypass those prescribed methods of

appointment merely by invoking the Take Care Clause, surely some court in the history of the

Republic would have sustained the exercise of this power. None has. Cf. Free Enter. Fund, 561

U.S. at 505 (lack of historical precedent is a “telling indication of the severe constitutional

problem”) (cleaned up).

        Instead, the President must rely on the power vested in him by the Appointments Clause,

which permits the President to appoint principal officers of the United States only “by and with

the Advice and Consent of the Senate.” U.S. Const. art. II, § 2, cl. 2 (emphasis added). The



6
  Even to the extent Defendants are correct that the constitutional question presented in
Intercollegiate should be conflated with the statutory one presented here (it should not), identifying
the Library of Congress as a “Department” does not end the inquiry. As the D.C. Circuit observed
in Intercollegiate, the “‘Departments’ referred to in the Appointments Clause ‘are . . . in the
Executive Branch or at least have some connection with that branch.’” 684 F.3d at 1341 (quoting
Buckley v. Valeo, 424 U.S. 1, 127 (1976)) (emphasis added). In other words, the Appointments
Clause reaches beyond the confines of the Executive Branch to include certain agencies that have
“some connection with,” but are not located in, the Executive Branch.


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President lacks inherent authority to make those appointments unilaterally. Were it otherwise,

“there would be no need for the Recess Appointments Clause.” Aviel I, 2025 WL 1009035, at *9,

stay pending appeal denied, Aviel II, 2025 WL 1600446 (rejecting argument that the President has

“inherent” authority to appoint acting principal officers). The Recess Appointments Clause is a

narrow “exception” to the Appointments Clause, and as the Supreme Court has emphasized, does

“not offer[] the President the authority routinely to avoid the need for Senate

confirmation.” N.L.R.B. v. Noel Canning, 573 U.S. 513, 519, 523–24 (2014) (citation and internal

quotation marks omitted). But under the Government’s view, the President could routinely avoid

the need for Senate confirmation, simply by purporting to appoint an acting official of his choice

to serve indefinitely in the principal officer’s position. That cannot be right.

       Lest there be any remaining doubt, the D.C. Circuit has in recent days confirmed—across

both the majority and the dissent—that “it is unlikely that the Take Care Clause gives the President

unfettered discretion to designate acting principal officers with neither Senate confirmation nor a

Senate recess nor even statutory authorization through the FVRA.” Aviel II, 2025 WL 1600446,

at *2; accord id. at *4 n.1 (Rao, J., dissenting) (“I agree with my colleagues that . . . the text and

structure of the Constitution strongly suggest the President has no inherent authority to appoint

officers of the United States, like IAF Board members, outside the strictures of the Appointments

Clause.”); accord Williams v. Phillips, 360 F. Supp. 1363, 1371 (D.D.C. 1973).

       The President did not lawfully appoint Mr. Blanche, so Mr. Blanche cannot lawfully

exercise the powers of that office. Any actions taken by Mr. Blanche as acting Librarian of

Congress are therefore void ab initio and have no legal effect. See Lucia v. SEC, 585 U.S. 237

(2018) (the appropriate remedy for an unlawful appointment is invalidation of the officer’s ultra

vires acts). Thus, Mr. Blanche did not validly ratify the dismissal of Ms. Perlmutter and did not

validly appoint either Mr. Nieves or Mr. Perkins to senior Library posts.

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II.     Plaintiff Will Likely Suffer Immediate and Irreparable Harm

        Defendants’ actions have caused irreparable harm to Ms. Perlmutter and will continue to

cause her harm absent judicial intervention. Although garden-variety employment disputes

predicated on an employee’s “loss of income” generally do not justify emergency relief, cf.

Sampson v. Murray, 415 U.S. 61, 91–92 (1974), the present dispute is hardly ordinary—as this

Court has recognized. See ECF No. 15, Tr. of Oral Argument at 41:21–22 (May 29, 2025) (“Ms.

Perlmutter is right that this is not a garden-variety case.”). Plaintiff suffers harm from Defendants’

actions because they threaten to deprive her of her “statutory right to function” in the role to which

she was lawfully appointed; they frustrate her ability to perform the mandatory statutory duties

that Congress assigned to her; and they cause irreversible institutional damage to the Library of

Congress and Copyright Office, such that any later reinstatement would not resurrect Ms.

Perlmutter’s right to function in her office as it exists now and would further implicate significant

separation-of-powers concerns that this Court can and should consider in deciding this motion.

        Delayed remedies or remedies at law are inadequate to redress Plaintiff’s injuries. Ms.

Perlmutter does not seek lost pay. She seeks to execute her duties and administer the Copyright

Office in accordance with statutory mandates. With each day that passes that the Court does not

confirm she lawfully serves as Register, Ms. Perlmutter is irreparably harmed by her inability to

fulfill her statutorily required duties and lead the Copyright Office’s important and time-sensitive

work.

        A.     Sampson contemplates preliminary injunctive relief for the termination of a
               government employee in an “extraordinary situation”

        In cases arising out of the purportedly unlawful termination of Executive Branch

employees, plaintiffs challenging their terminations “must make a showing of irreparable injury

sufficient in kind and degree to override” the Government’s traditional autonomy over its internal



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affairs, which ordinarily “cut[s] against the availability of preliminary injunctions in Government

personnel cases.”7 Sampson, 415 U.S. at 84. In Sampson, the Supreme Court considered whether

a probationary employee at the General Services Administration could receive a temporary

restraining order enjoining her dismissal during an administrative appeal to the Civil Service

Commission. Id. at 62–63. The Court concluded that the loss of wages and reputation that may

be remedied through further proceedings fell “far short of the type of irreparable injury which is a

necessary predicate to the issuance of a temporary injunction in this type of case,” especially in

consideration of the Government’s prerogative to manage its employees.                Id. at 91–92.

Nonetheless, the Court noted that a “District Court is not totally without authority to grant interim

injunctive relief to a discharged Government employee,” id. at 63, and that relief may be

appropriate “in the genuinely extraordinary situation” where “circumstances surrounding an

employee’s discharge, together with the resultant effect on the employee, may so far depart from

the normal situation that irreparable injury might be found.” Id. at 92 n.68.

       At least six courts in this District have concluded that the unlawful removal of a senior

government official represents such a “genuinely extraordinary situation” causing irreparable

harm. See, e.g., LeBlanc v. U.S. Priv. & C.L. Oversight Bd., No. CV 25-542 (RBW), 2025 WL

1454010, at *1 (D.D.C. May 21, 2025) (Walton, J.) (irreparable harm where members of the United

States Privacy and Civil Liberties Oversight Board (PCLOB) were unlawfully removed);

Grundmann v. Trump, No. 25-cv-425 (SLS), 2025 WL 782665 (D.D.C. Mar. 12, 2025)

(Sooknanan, J.) (irreparable harm where chair of Federal Labor Relations Authority was


7
 For example, the Supreme Court denied temporary relief in Sampson in part because of the “well-
established rule that the Government has traditionally been granted the widest latitude in the
dispatch of its own internal affairs.” 415 U.S. at 83 (citation omitted). But that concern is
“minimized in the context of an action that at this stage appears to be nakedly illegal, such that the
Government’s range of options is necessarily constrained.” Harris v. Bessent, No. 25-cv-412
(RC), 2025 WL 521027, at *6 (D.D.C. Feb. 18, 2025).

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unlawfully removed); Aviel I, 2025 WL 1009035, at *10–11 (AliKhan, J.) (irreparable harm where

President of Inter-American Foundation was unlawfully removed); Harris v. Bessent, No. 25-cv-

412, 2025 WL 521027 (D.D.C. Feb. 18, 2025) (Contreras, J.) (irreparable harm where member of

the Merit Systems Protection Board (MSPB) was unlawfully removed); Dellinger v. Bessent, 766

F. Supp 3d 57 (D.D.C. 2025) (Berman Jackson, J.) (irreparable harm where Special Counsel of the

Office of Special Counsel was unlawfully removed); Wilcox v. Trump, No. 25-cv-334, 2025 WL

720914 (D.D.C. Mar. 6, 2025) (Howell, J.), hearing en banc denied sub nom. Harris v. Bessent,

No. 25-5037, 2025 WL 1033740 (D.C. Cir. Apr. 7, 2025) (irreparable harm where Member of

National Labor Relations Board was unlawfully removed), stayed sub nom. Trump v. Wilcox, 145

S. Ct. 1415 (May 22, 2025); Berry v. Reagan, No. 83-cv-3182, 1983 WL 538, at *5 (D.D.C. Nov.

14, 1983), vacated as moot, 732 F.2d 949 (D.C. Cir. 1983) (irreparable harm where members of

the U.S. Commission on Civil Rights were unlawfully removed). Ms. Perlmutter’s purported

removal compels the same conclusion.8

         B.      Plaintiff’s removal is precisely the type of “extraordinary situation”
                 contemplated by Sampson

         The Register of Copyrights is charged with significant responsibilities of national interest,

including the administration of the national copyright system and the provision of impartial advice

on copyright law to Congress, federal agencies, the courts, and the public.9 Therefore, the



8
  The fact that several of these lawsuits involved “a Senate-confirmed principal officer of a
Congressionally created independent agency” who was deprived of a statutory right to function
neither limits the “extraordinary situation” doctrine nor makes the analysis in those cases any less
persuasive here. Congress intentionally authorized only the Librarian of Congress to appoint or
remove the Register of Copyrights. 17 U.S.C. § 701; Grundmann v. Trump, No. CV 25-425 (SLS),
2025 WL 782665, at *17 (D.D.C. Mar. 12, 2025); see also, e.g., Does 1–26 v. Musk, No. CV 25-
0462-TDC, 2025 WL 840574, at *28 (D. Md. Mar. 18, 2025) (removal of employees and
contractors of United States Agency for International Development was an extraordinary
situation).
9
    See supra Factual Background Part II.

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Register’s “unlawful removal from office by the President and the obviously disruptive effect that

such removal has on the organization’s functioning” make this a “genuinely extraordinary

situation,” as contemplated by Sampson. LeBlanc, 2025 WL 1454010, at *29 (cleaned up); Wilcox,

2025 WL 720914, at *15 (same). Ms. Perlmutter’s purported removal from her position as

Register of Copyrights should be enjoined because it has caused and will continue to cause

irreparable harm, for at least three reasons.

                  1.   Plaintiff has a “statutory right to function” as Register of Copyrights.

       Ms. Perlmutter suffers irreparable harm because Defendants’ actions deprive her of her

“statutory right to function” in the role that the Librarian of Congress lawfully appointed her to

perform. Harris v. Bessent, No. CV 25-412, 2025 WL 679303, at *13 (D.D.C. Mar. 4, 2025),

appeal pending, No. 25-5055 (D.C. Cir.).

       Courts in this District have recognized that even if the deprivation of a senior government

official’s “statutory right to function” is temporary, the injury to them and their agency is both

significant and irreparable. Berry, 1983 WL 538, at *5, vacated as moot, 732 F.2d 949 (D.C. Cir.

1983) (per curiam); see also Mackie v. Bush, 809 F. Supp. 144, 147 (D.D.C. 1993), vacated as

moot sub nom. Mackie v. Clinton, 10 F.3d 13 (D.C. Cir. 1993) (issuing temporary restraining order

prohibiting the President from removing plaintiffs from federal office and noting that “neither a

damages remedy nor a declaratory judgment would provide an adequate remedy” after the fact of

their removal).

       Plaintiff’s loss of the ability to carry out her congressionally directed mission transcends

the loss of income or embarrassment involved in the typical employment action at issue in

Sampson; it cannot be remedied by money damages. Rather, Ms. Perlmutter’s loss of the

opportunity to lead and direct the important work of the Copyright Office at this precise time is a

“harm that cannot be remediated if the court waits until the end of litigation.” Li v. Blinken, No.


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22-5266, 2023 WL 4044487, at *1 (D.C. Cir. June 16, 2023); cf. Cable News Network, Inc., No.

18-cv-2610, ECF No. 22 (D.D.C Nov. 16, 2018) (Kelly, J.) (concluding that the harm to a journalist

based on the White House’s revocation of his press pass was “irreparable” in part because “[t]he

Court cannot restore his access to press briefings that have already occurred or to conversations in

the White House press facilities that have already been had” and “that CNN may still send another

journalist or other journalist to the White House does not make the harm to Mr. Acosta any less

irreparable”). Ms. Perlmutter’s opportunity to lead the Copyright Office in accordance with her

statutory mandates—to, inter alia, direct rulemakings to administer the Copyright Act; make time-

sensitive, critical staff decisions, including for the Copyright Claims Board; review Copyright

Royalty Judges’ decisions for legal error and resolve novel questions of law before them; issue

copyright registrations; and complete the Office’s Copyright and AI Report—will be forfeited

during the months-long pendency of this lawsuit. See Perlmutter Decl. ¶¶ 7, 14. Plaintiff’s harm

is “unrecoverable” and therefore irreparable. Karem v. Trump, 404 F. Supp. 3d 203, 217 (D.D.C.

2019), aff’d as modified, 960 F.3d 656 (D.C. Cir. 2020).

       The Supreme Court’s recent stay decision in Trump v. Wilcox, 145 S. Ct. 1415 (2025), is

not to the contrary, and does not mean that the President always gets his way in the assessment of

irreparable harm. Rather, the Court explained in Wilcox that the stay granted in that case reflected

its judgment that the government was likely to prevail on the merits on the question of whether,

under the Court’s Appointments Clause precedents, the President can remove members of the

National Labor Relations Board and the Merit Systems Protection Board. Id. (citing Seila Law

LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 215−18 (2020)).

       Additionally, the D.C. Circuit recently confirmed Wilcox’s limited applicability,

explaining that it does not apply where the President is not likely to succeed on the merits. See

Aviel II, 2025 WL 1600446, at *4 n.2 (“Although the Supreme Court issued a stay in Harris and

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a companion case [Wilcox], its merits ruling rested on the proposition that the removals at issue in

those cases were likely lawful.”). Common sense requires this conclusion. What if, taking

Defendants’ example, see ECF No. 7 at 7, the President unlawfully removes the Senate

Parliamentarian? The Chairman of the Federal Reserve? A District Court judge? Courts must be

empowered to provide effective interim relief for these unlawful actions, where it is clear that the

President faces no harm—and has no lawful authority to remove the officer in question.

       As in Aviel II, and consistent with Wilcox, Ms. Perlmutter has established that she is likely

to succeed on the merits, see supra Part I, and therefore the President does not face harm.

Accordingly, an injunction is warranted to prevent Ms. Perlmutter’s irreparable harm based on her

purported removal.

       Nor does the D.C. Circuit’s stay decision three months ago in Dellinger call into question

the clear irreparable harm in this case. In Dellinger, based on “the circumstances of the particular

case,” the court concluded that plaintiff would, “[a]t worst, . . . remain out of office for a short

period of time” because the case was expedited on the court’s own motion. Dellinger v. Bessent,

No. 25-5052, 2025 WL 887518, at *4 (D.C. Cir. Mar. 10, 2025) (internal quotation marks omitted).

That is not the case here, where Ms. Perlmutter would remain out of office for the pendency of

this suit, which would likely take many months, as the Court indicated at the June 3, 2025 status

conference that this lawsuit is at the bottom of a lengthy queue. “[T]he potential injury to the

government of . . . having its designated [acting official] sidelined,” id., does not apply here for

the same reasons that Wilcox does not apply: the President does not have the authority to appoint

(or remove) the acting Register of Copyrights, supra at 8–11.




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               2.     Plaintiff remains Register of Copyrights and is therefore required to fulfill
                      her statutory duties.

       Beyond the loss of her “statutory right to function,” absent preliminary relief Plaintiff will

also be prevented from performing the legislative functions that continue to be required of her.

Ms. Perlmutter remains the Register of Copyrights according to the Library of Congress’s

leadership and staff; she has not received any communication from Library of Congress leadership

that could lawfully terminate her employment. See Perlmutter Decl. ¶ 13; see also Leadership,

U.S. Copyright Off., https://www.copyright.gov/about/leadership (identifying Ms. Perlmutter as

Register as of June 10, 2025). Ms. Perlmutter therefore is required by law to fulfill her statutory

obligations while this lawsuit is pending, unless she is removed from office by a duly appointed

Librarian.

       Those duties require her to (among other things): evaluate applications for registration of

copyright and issue registrations if the works contain copyrightable subject matter, 17 U.S.C.

§ 410; advise Congress on national and international issues relating to copyright, id. § 701(b)(1);

conduct studies and programs regarding copyright, id. § 701(b)(4); establish regulations subject to

the approval of the Librarian of Congress, id. § 702; designate the MLC and DLC, which will

represent digital music services in the administration of the license and in the determination of the

administrative assessment fee paid by digital music providers for the reasonable costs of

establishing and operating the new MLC, 17 U.S.C. § 115(d)(5)(B); recommend a new Copyright

Claims Officer to serve on the three-member tribunal Copyright Claims Board, id. § 1506(x); and

review decisions by Copyright Royalty Judges, which determine royalty rates, adjust terms, and

ensure the distribution of royalties deposited by licensees, id. § 802 (f)(1)(D). See Perlmutter Decl.

¶¶ 6, 14.




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        These duties are both critical and time-sensitive. The Register must designate a new MLC

and DLC every five years; the current redesignation process is underway and has not yet been

completed. Id. ¶¶ 6(f), 14(b). The Register must review decisions by Copyright Royalty Judges

within 60 days after the decisions are issued. Id. ¶¶ 6(h), 14(e). The Register must appoint a new

Copyright Claims Officer, in consultation with the Librarian of Congress, to replace an Officer

whose term is ending; without a new Officer, the CCB will be unable to function effectively. Id.

¶¶ 6(g), 14(c). And stakeholders are awaiting the issuance of the final part of the Office’s

Copyright and AI Report as well as long-sought and in-process regulations, including one that

establishes a new option of Group Registration for Two-Dimensional Artwork. Id. ¶¶ 7, 14(d),

14(g). Absent a preliminary injunction, Ms. Perlmutter will be unable to effectively carry out these

and other duties. Id. ¶ 14. And the ongoing uncertainty will necessarily impede Ms. Perlmutter’s

ability to do what is statutorily required of her and cast doubt over the Copyright Office’s actions.

This is already happening in real time. Due to the current situation, the Copyright Office has been

issuing certificates without the Register’s signature, which, although authorized by law, 17 U.S.C.

§ 410(a), could lead to challenges in litigation. See Ivan Moreno, Unsigned Copyright Certificates

Raise         Validity         Questions,          Law360           (June          3,         2025),

https://www.law360.com/articles/2348985/unsigned-copyright-certificates-raise-validity-

questions.

        This “loss of the ability to do what Congress specifically directed [Plaintiff] to do cannot

be remediated with anything other than equitable relief.” Harris, 2025 WL 521027, at *8 (citation

omitted). Plaintiff therefore seeks to preserve the status quo ante because without immediate

prevention of Mr. Blanche’s appointment, Ms. Perlmutter’s removal, and Mr. Perkins’s

appointment, Ms. Perlmutter will be irreparably harmed by being unable to perform her statutorily

required duties. See Perlmutter Decl. ¶ 14.

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               3.     Irreparable harm to the Library of Congress and Copyright Office will
                      frustrate Plaintiff’s ability to resume her duties.

       Because of the institutional harm to the Library of Congress and U.S. Copyright Office that

emanates from Defendants’ unlawful actions, Ms. Perlmutter will be unable to return to her

position as it currently exists unless she receives preliminary relief. Because harm to Plaintiff and

harm to the Library of Congress and the Copyright Office are inextricably intertwined, this

circumstance again presents precisely the “extraordinary situation” requiring judicial intervention

that the Supreme Court contemplated in Sampson.

       This Court recognized this type of irremediable harm in English v. Trump, despite finding

that a plaintiff claiming to be the rightful director of the Consumer Financial Protection Bureau

did not suffer irremediable harm because it was likely that she could later be reinstated. 279 F.

Supp. 3d 307, 313 (D.D.C. 2018). English contrasted the plaintiff’s circumstances with those in

Berry, explaining that “any harm suffered by the commissioners [in Berry] was plainly irreparable

because the commission would have expired and they could not have been reinstated to it.”

English, 279 F. Supp. 3d at 335 (emphasis added); see also Davis v. Billington, 76 F. Supp. 3d 59,

65 (D.D.C. 2014) (no irreparable harm arising from the plaintiff’s termination because “he ha[d]

no concrete proof that the vacancy . . . or some other comparable position w[ould] not be available

when th[e] [case] is ultimately resolved”). Aviel v. Gor follows the same analysis, explaining that

the plaintiff’s harm was beyond remediation because “no amount of relief will resurrect her right

to function” as it existed at the time that the lawsuit was initiated. Aviel I, 2025 WL 1009035, at

*11 (citation omitted).

       These concerns are amplified here given that the President’s attempt to take over the

Library of Congress implicates separation-of-powers issues not ordinarily present in other

employment disputes. To decide this motion, the Court can and should consider these irremediable



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separation-of-powers harms to the institutions themselves. See LeBlanc, 2025 WL 1454010, at

*32 (finding irreparable harm based in part on the determination that the violation “impedes the

ability of the PCLOB to function as an independent watchdog in furtherance of protecting civil

liberties and privacy interests, as envisioned by Congress”); Harris, 2025 WL 521027 at *8

(finding irreparable harm based in part on the determination that “the MSPB’s congressionally

mandated independence would be permanently marred by the threat of renewed removal and

delayed reinstatement while litigation proceed”).

       Given the sensitivity of the Library of Congress’s statutory functions vis-à-vis Congress,

Congress has not given the President statutory authority to determine who the acting Librarian of

Congress should be. See supra Part I.B. Yet the President purports to wield exactly that power—

not merely to appoint somebody as acting Librarian of Congress, but to appoint an individual

serving concurrently in the Executive Branch. The Copyright Office cannot perform its statutory

role as a neutral advisor to Congress if an Executive Branch official controls the Library of

Congress’s operations. To conclude otherwise would put the Deputy Attorney General in charge

of a legislative entity that “determin[es] the advisability” of Congress’s legislative proposals, 2

U.S.C. § 166(d)(1)(a); prepares “materials and services to committees and Members of the Senate

and House of Representatives and joint committees of Congress to assist them in their legislative

and representative functions,” id. § 166(d)(5); and performs additional duties in aid of the

legislative process, all “without partisan bias,” id. § 166(d) (emphasis added). And it would put

Defendant Perkins, a counselor to the Deputy Attorney General, in charge of the Copyright Office

itself—a body statutorily charged to provide neutral, technical advice to Congress. See 17 U.S.C.

§ 701(b)(1), (4); see also id. § 407.

       In connection with its role as adviser to Congress, the Library of Congress also stores

confidential “Congressional correspondence and other materials relating to work performed in

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response to or in anticipation of Congressional requests,” which are “exempt from disclosure”

“unless authorized for release by officials of the Congress.”            36 C.F.R. § 703.5(b)(1).       If

Defendants were to unlawfully access the Library of Congress’s confidential records, including

research and advice for Members of Congress on potential legislation, the damage would be

irreversible.10 And if Defendants were to unlawfully access the deposits of copyrighted works

safeguarded in the Copyright Office, the copyright registration system and the value of those works

would be jeopardized.

        In sum, the Executive Branch’s unlawful seizure of the Library of Congress and Copyright

Office, if permitted to continue until some undetermined future date, will deprive both institutions

of their ability to continue as legislative entities that exist in significant part to provide nonpartisan

advice to Congress. That loss will prevent Ms. Perlmutter, if equitable relief is delayed, from

serving as the Register of Copyrights in the manner that Congress envisioned. Therefore, “[t]his

unique, irremediable harm distinguishes this case from those where the plaintiff only pleads the

loss of her own right to function in a role.” Aviel I, 2025 WL 1009035 at *11.

                                                  ***

        For all these reasons, Plaintiff’s case is nothing like a garden-variety employment dispute

in which an employee seeks backpay or similar remedies for wrongful termination. Ms. Perlmutter

is not suing for monetary harm but instead the fundamental loss of her public office, which is

imbued with important and ongoing statutory duties. Mr. Blanche’s unlawful appointment to the



10
  See Letter from Reps. Joseph D. Morelle, Rosa L. DeLauro, Adriano Espaillat, Terri A. Sewell,
Norma J. Torres, and Julie E. Johnson, to Kimberly Benoit, Libr. of Cong. Inspector Gen. (May
12, 2025), https://democrats-cha.house.gov/sites/evo-subsites/democrats-cha.house.gov/files/evo-
media-document/5.12.25-letter-to-loc-ig-re-investigation.pdf. (“The Library is part of the
legislative branch—an independent and coequal branch of government. The executive has no
authority to demand or receive confidential legislative branch data, and the Library has no legal
basis to supply such information without authorization from Congress.”).

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position of acting Librarian of Congress, and Mr. Perkins’s unlawful appointment to the position

of acting Register of Copyrights, will do immeasurable damage to the neutral role of the Library

of Congress and Copyright Office, and their services to Congress and the public. If the Court does

not enter preliminary relief for Ms. Perlmutter, this irreparable harm will prevent her from being

able to serve as Register of Copyrights in accordance with her statutory mandate. All that Plaintiff

seeks through this motion is a preservation of the lawful status quo. For the reasons stated above,

Plaintiff has shown that she will suffer irreparable harm absent preliminary injunctive relief.

III.    The Equitable Factors Strongly Favor Preliminary Relief

        Finally, the balance of the equities and the public interest also favor an injunction. A

party’s likelihood of success on the merits is a strong indicator that a permanent injunction “would

serve the public interest” because “[t]here is generally no public interest in the perpetuation of

unlawful agency action.” League of Women Voters, 838 F.3d at 12. As discussed above, no

Defendant had the legal authority to remove Ms. Perlmutter as Register of Copyrights. See supra

Part I.A. There can be no public interest in her unlawful removal. See id. (there is a strong interest

in the executive branch “abid[ing] by the federal laws that govern [its] existence and operations”).

Nor did Defendants have the legal authority to appoint Mr. Blanche to acting Librarian of

Congress, see supra Part I.B, and therefore there can be no public interest in his unlawful

placement in that position. The public also has a strong interest in a swift remedy of separation of

powers violations. See Grundmann, 2025 WL 782665, at *18 (“If the Government had its way, it

would place unchecked power in the hands of the President, which is antithetical to our system of

government”). As discussed above, supra Part II, immediate relief is necessary to prevent

irreversible harm to the Library of Congress, the Copyright Office, and Ms. Perlmutter’s ability to

perform her statutory duties. The current lack of clarity as to the Office’s leadership has already

caused delay and uncertainty, which threatens to render inoperable significant functions of


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importance to stakeholders and the general public. The public interest requires clarity so that the

Copyright Office may continue its important work without impediment, and so that there is no

question as to the validity and reliability of the Copyright Office’s actions.

       On the other side of this balance, the requested relief will not cause Defendants any

hardship. “It is well established that the Government cannot suffer harm from an injunction that

merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020)

(citations omitted). Nor will Defendants be harmed by the maintenance of the status quo, in which

Plaintiff, who has faithfully served as the Register of Copyrights for nearly five years, continues

to fulfill her statutory role as an advisor to Congress and steward of the copyright system.

Moreover, as explained above, the President faces no harm because he is not entitled to unilaterally

appoint an acting Librarian of Congress nor to appoint the Register of Copyrights.

                                          CONCLUSION

       For the reasons stated herein, the Court should grant preliminary injunctive relief in favor

of Ms. Perlmutter.



Dated: June 10, 2025                             Respectfully submitted,

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